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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Ward Brehm,

            Plaintiff,

v.
                                             Civil Case No. 25-cv-660
Pete Marocco, et al.,

            Defendants.




     MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
             TEMPORARY RESTRAINING ORDER
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                                 INTRODUCTION

    Plaintiff Ward Brehm is the President and CEO of the United States African

Development Foundation, a congressionally created agency. He was duly appointed

by the Board of Directors, as authorized by statute. Despite the clear statutory

requirement that USADF “shall have perpetual succession unless dissolved by an Act

of Congress,” 22 U.S.C. § 290h-4(a)(1), Defendants are dead-set on shuttering the

agency.

   On February 21, President Trump issued an Executive Order describing USADF

as “unnecessary.” Within days, Defendants launched a full-on assault against

USADF. First, DOGE gained access to the agency under the false pretenses of

modernizing and streamlining USADF’s computer systems. When USADF learned

that DOGE was there to kill the agency, USADF staff refused DOGE access to cancel

all grants and contracts. DOGE employees began threatening members of the

Board—telling them that unless they carried out DOGE’s plans to strip USADF to its

core, the Board would be fired. When that didn’t work, USADF was told that

President Trump did not need to follow the required process for advice and consent

of the Senate and instead had appointed Pete Marocco as the sole board member

(despite there still being four properly appointed board members, none of whom had

received any notification of termination).

   Yesterday, Wednesday, March 5, DOGE staff and Marocco attempted to access

USADF’s offices. Plaintiff Brehm had told them that he was President of USADF and

that he had instructed staff to not allow Defendants access as they had no legal



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authority. Undeterred, Marocco and DOGE threatened a security guard with a

lawsuit and told the building’s property manager that they would bring in U.S.

Marshals and the Secret Service unless they were given access to USADF. Their

threats were unsuccessful.

    This morning, however, Marocco and DOGE showed up with U.S. Marshals and

forced their way into USADF. Marocco has purported to appoint himself President of

USADF. And at the very moment that this motion is being finalized, Marocco and

DOGE are demanding—based on Marocco’s illusory authority—immediate access to

USADF’s computer systems. Access to the USADF computer systems would not only

give DOGE troves of sensitive data, it would also allow Defendants to inflict

irreparable harm on USADF and all its employees, including Plaintiff Brehm. This

Court should issue emergency relief immediately.

                             FACTUAL BACKGROUND

    The United States African Development Foundation

    Congress established the United States African Development Foundation as a

“body corporate,” 22 U.S.C. § 290h-1(a), to fulfill the statutory purposes “to enable the

people of African countries to develop their potential, fulfill their aspirations, and

enjoy better, more productive lives”; “to strengthen the bonds of friendship and

understanding between the people of Africa and the United States”; “to support self-

help activities at the local level designed to enlarge opportunities for community

development”; “to stimulate and assist effective and expanding participation of

Africans in their development process”; and “to encourage the establishment and

growth of development institutions which are indigenous to particular countries in
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Africa and which can respond to the requirements of the poor in those countries.” 22

U.S.C. § 290h-2(a).

      Congress instructed USADF to carry out these purposes “in cooperation with, and

in response to, organizations indigenous to Africa which are representative of the

needs and aspirations of the poor in Africa,” and directed that USADF shall “to the

extent possible, coordinate its development assistance activities with the activities of

the    United    States   Government     and    private,   regional,   and   international

organizations.” 22 U.S.C. § 290h-2(b).

      To fulfill these statutory purposes, Congress authorized USADF to “make grants,

loans, and loan guarantees” —not to exceed $250,000 for any particular project—“to

any African private or public group (including public international organizations),

association, or other entity engaged in peaceful activities” including “the fostering of

local development institutions,” “the development of self-evaluation techniques by

participants in projects supported” by USADF, “development research by Africans

and the transfer of development resources,” and “the procurement of such technical

or other assistance as is deemed appropriate by the recipient of such grant, loan, or

guarantee.” 22 U.S.C. § 290h-3(a).

      In making grants, loans, and loan guarantees under subsection (a) of this section,

Congress directed that “the Foundation shall give priority to projects which

community groups undertake to foster their own development and in the initiation,

design, implementation, and evaluation of which there is the maximum feasible

participation of the poor.” 22 U.S.C. § 290h-3(b).



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   Congress specified that USADF, “as a corporation,” “shall have perpetual

succession unless dissolved by an Act of Congress.” 22 U.S.C. § 290h-4(a)(1). Congress

empowered USADF to “prescribe, amend, and repeal such rules and regulations as

may be necessary for carrying out the functions of the Foundation”; to “make and

perform such contracts and other agreements with any individual, corporation, or

other private or public entity however designated and wherever situated, as may be

necessary for carrying out the functions of the Foundation”; and to “determine and

prescribe the manner in which its obligations shall be incurred and its expenses

allowed and paid[.]” 22 U.S.C. § 290h-4(a).

    The management of USADF is vested in a board of directors, composed of seven

members appointed by the President, by and with the advice and consent of the

Senate. 22 U.S.C. § 290h-5(a). All members of the Board shall be appointed “on the

basis of their understanding of and sensitivity to community level development

processes.” Id. Members of the Board shall be appointed so that no more than four

members of the Board are members of any one political party. Id.

    The Board of USADF manages the entity through the appointment of a

President, who exercises authority on such terms as the Board shall determine, and

an Advisory Council. 22 U.S.C. § 290h-5(d), (e).

    Congress has appropriated to USADF, “[f]or necessary expenses to carry out the

African Development Foundation Act,” $45 million to remain available until

September 30, 2025. Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-

47, Div. F, tit. III, 138 Stat. 460, 746 (2024). Congress prohibited USADF from using



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any appropriated funds to “implement a reorganization, redesign, or other plan,” that

would “expand, eliminate, consolidate, or downsize covered departments, agencies, or

organizations” or “expand, eliminate, consolidate, or downsize the United States

official presence overseas,” without first consulting with the Appropriations

Committees of both houses and providing a detailed justification for any such plan.

Id., § 7063(a), (b), 138 Stat. at 843-44.

       USADF was “established by Congress to invest directly in African grassroots

enterprises and social entrepreneurs.” United States African Development

Foundation, www.usadf.gov (last accessed Mar. 5, 2025); Ex. A, Brehm Decl., ¶ 2.

USADF provides grant funds, among other resources, “to develop, grow and scale

African enterprises and entrepreneurs who improve lives and livelihoods.” Id.

“USADF’s investments increase incomes, revenues, and jobs by promoting self-

reliance and market-based solutions to poverty.” Id. USADF works with partners in

22 African countries, focusing on “populations least served by existing markets or

assistance programs” with the goal of helping them “transition out of poverty.” Id.

       In fiscal year 2024, USADF made significant investments to drive growth in key

sectors, including $16.56 million across 114 grants enhancing agriculture, $7.37

million across 34 grants expanding off-grid energy access, and $4.19 million across

94 grants advancing youth and women entrepreneurship. Id.; Ex. A, Brehm Decl.,

¶ 2.

       February 19 Executive Order




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    On February 19, President Trump signed an executive order titled “Commencing

the Reduction of the Federal Bureaucracy.” The purpose of the executive order is to

“reduce the size of the Federal Government,” especially the elements “that the

President has determined are unnecessary.”

    The executive order list federal entities that “shall be eliminated to the maximum

extent consistent with applicable law, and such entities shall reduce the performance

of their statutory functions and associated personnel to the minimum presence and

function required by law.” The executive order lists USADF as one of the targeted

entities.

    Under the executive order, “the head of each unnecessary governmental entity”

has 14 days to submit a report to the Director of the Office of Management and Budget

“confirming compliance with this order and stating whether the governmental entity,

or any components or functions thereof, are statutorily required and to what extent.”

    In response to the reports submitted by targeted entities, “the OMB Director or

the head of any executive department or agency charged with reviewing grant

requests by such entities shall, to the extent consistent with applicable law and

except insofar as necessary to effectuate an expected termination, reject funding

requests for such governmental entities to the extent they are inconsistent with this

order.”

    The executive order “shall [not] be construed to impair or otherwise effect,” among

other things, “the authority granted by law to an executive department, agency, or




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the head thereof” and “shall be implemented consistent with applicable law and

subject to the availability of appropriations.”

    DOGE’s attempts to shut down USADF

    On February 20, 2025, the day after the executive order was issued, Chris Young,

a representative of the U.S. DOGE Service, met with members of the USADF

leadership team. Ex. B, Feleke Decl., ¶ 3; Ex. C, Leslie Decl., ¶ 7. At the meeting,

Young described the intent of the U.S. DOGE Service that two engineers from the

General Services Administration (GSA) would be detailed to USADF to provide

software expertise to modernize architecture, system design, and improve

government efficiency. Ex. B, Feleke Decl., ¶ 3. That evening, Young submitted two

memoranda of understanding (MOUs) for a detail assignment between GSA and

USADF for Ethan Shaotran and Nate Cavanaugh which similarly described the scope

of these individuals’ details. Ex. B, Feleke Decl., ¶¶ 3-5. The effective period of both

detail assignments was to be from February 20, 2025, through July 4, 2026. Id.

    The next day, February 21, 2025, Shaotran and Cavanaugh, accompanied by Jake

Altik, a lawyer from the U.S. DOGE Service, arrived at USADF and met with

USADF’s leadership team. During this meeting the parties signed the MOUs that

had been provided the night before. Ex. B, Feleke Decl., ¶ 4. The U.S. DOGE Service

team then proceeded to describe their purpose for arriving at USADF, which was to

reduce the functions of the Foundation to the “minimum presence and function”

required under their reading of the African Development Foundation Act, which in

their view required only that the Foundation retain its Board and President and that



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the agency maintain only one or two grants funded by private sector partnerships.

Ex. B, Feleke Decl., ¶ 5. In their view, all other personnel of the agency would be

eliminated to fulfill the executive order. Id.

    The U.S. DOGE Service representatives demanded immediate access to USADF

systems including financial records, payment and human resources systems to

include staff job descriptions, personnel files, salaries, and organizational structure.

Ex. B, Feleke Decl., ¶7. The USADF management team responded by requesting an

assessment of the legal basis for Altik’s interpretation of USADF statutory function.

USADF management further outlined the administrative process, including security

clearances, that would be required to access sensitive data and personally identifiable

information from the Agency’s systems. Ex. B, Feleke Decl., ¶8. USADF management

further explained that any attempt to provide access outside of the clearance process

would be in violation of the Privacy Act.

    The U.S. DOGE Service representatives responded by noting that they would

seek waivers to avoid the clearance process from the USADF Board. Ex. B, Feleke

Decl., ¶ 9. Altik stated that if the Board was unable to provide immediate clearance,

they would issue a notice of dismissal to all members of the Board. Id. The U.S. DOGE

Service representatives asked for contact information for each of the members of the

Board. UADF management responded that this contact information was personal and

that therefore she would first need to obtain permission from the Board members to

share it. The U.S. DOGE Service representatives then left the meeting and never

followed up to request contact information for the Board. Ex. B, Feleke Decl., ¶¶ 9-



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11. USADF management then determined that the MOU had been secured under

false pretenses and accordingly revoked it. Ex. B, Feleke Decl., ¶ 12.

   On Saturday, February 22, 2025, U.S. DOGE Service representatives did reach

one member of the Board. They stated to this member, incorrectly, that all the other

members of the Board had been terminated and asked him to implement the U.S.

DOGE Service’s vision of the minimum statutory functions of USADF. He declined to

cooperate with the attempt to dismantle the agency. Ex. C, Leslie Decl., ¶9.

   On Monday, February 24, 2025, Ward Brehm, then a member of the Board of

USADF, received a notice from the Presidential Personnel Office that he had been

terminated from his position on the Board. No other Board member has received any

similar notice. Ex. A, Brehm Decl., ¶¶ 9, 10.

   In the afternoon of February 28, 2025, USADF management received a letter

from the Presidential Personnel Office purporting to appoint Pete Marocco as the

Acting Chair of the Board of USADF. Ex. C, Leslie Decl., ¶11; Ex. B, Feleke Decl., ¶

14. No provision of law authorizes the appointment of a person to the Board of USADF

on an acting basis, or on any basis other than Presidential nomination and Senate

confirmation.

   On the morning of March 3, 2025, the Board of USADF held an emergency

meeting and determined that the purported appointment of Marocco was illegal. The

Board adopted a resolution appointing Brehm as the President of USADF. Ex. A,

Brehm Decl., ¶11; Ex. C, Leslie Decl., ¶13; Ex. B, Feleke Decl., ¶ 23. On the same

day, the Board transmitted a memorandum to members of Congress, alerting them



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to the illegal attempt to appoint Marocco to the Board, and informing Congress that

Brehm was now the President of USADF.

      On March 4, 2025, the Board held its regularly scheduled quarterly meeting. See

United States African Development Foundation: Notice of Meeting, 90 Fed. Reg.

11037, 11037 (Mar. 3, 2025). Marocco did not attempt to attend this meeting.

      On the afternoon of March 4, 2025, the U.S. DOGE Service representative,

Cavanaugh, emailed USADF management to state that Marocco would arrive the

next day at the offices of USADF’s headquarters with software engineers who had

purportedly been detailed to the Foundation. Ex. A, Brehm Decl., ¶12.

      On the morning of March 5, 2025, Brehm, in his capacity as President of USADF,

responded that Marocco did not legally hold any position with the Foundation, and

that accordingly he had instructed USADF not to permit Marocco or any other

persons from outside the agency to gain access to USADF’s offices. Ex. A, Brehm

Decl., ¶13. Marocco and several representatives from U.S. DOGE Service arrived at

USADF’s offices around mid-day on March 5, but were denied access to those offices.

Marocco and his colleagues threatened to return to the offices with United States

Marshals and Secret Service. Ex. A, Brehm Decl., ¶¶ 15-19; Ex. C, Leslie Decl., ¶¶ 17-

18.

      If Marocco is permitted to exercise authority on behalf of USADF, he intends to

terminate Brehm from his position as President of USADF. Ex. A, Brehm Decl., ¶19.

      DOGE shuts down IAF




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    The U.S. DOGE Service has pursued a virtually identical plan to terminate

USADF’s sister agency, the Inter-American Foundation (IAF). On February 20, 2025,

the same day that U.S. DOGE Service representatives Shaotran and Cavanaugh

initially met with USADF, they also met with representatives of IAF. As they did

with USADF, the DOGE representatives told IAF that they were there to help

improve IAF’s software and systems. After the MOUs were signed, they then

informed IAF that their real goal was to reduce the functions of IAF to what they

characterized as its statutory minimum operations and requested access to IAF’s

systems to help them to accomplish that goal.

    On February 21, 2025, representatives of IAF met again with Cavanaugh and

Shaotran and an additional representative of the U.S. DOGE Service, Jacob Altik.

Ex. B, Feleke Decl., ¶15. Altik stated his view that the minimum statutory

requirements for IAF would be the existence of a Board and a President, a presence

in the District of Columbia, and a “minimum level” of grants and contracts. DOGE

accordingly intended to effectuate the reduction-in-force (RIF) of most, if not all IAF’s

employees, and the termination of all but a handful of IAF’s grants and contracts. Id.

The DOGE representatives stated that it was their intent that RIF notices would be

sent out that day if the Board supported that action. The DOGE representatives

suggested that if the Board did not agree with that plan, DOGE’s intent would be to

terminate the Board.

    The DOGE representatives were told that it would be difficult to convene the

Board immediately and that the Board was subject to certain legal requirements



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before convening. The DOGE representatives stated that they were not concerned

with these legal requirements and that they needed an immediate yes-or-no answer

from the Board.

   The DOGE representatives were also told that IAF was legally restricted under

the terms of Section 7063 of Division F of the Further Consolidated Appropriations

Act, 2024, Pub. L. No. 118-47 (2024), from initiating any reduction in IAF’s functions

without first providing notice to Congressional appropriations committees.

   On February 24, 2025, the DOGE representative, Altik, contacted one of the

members of the Board of IAF asking if that Board member would align with DOGE’s

vision. That Board member declined to provide Board that assurance, because he

believed that DOGE’s plans for the agency were unlawful.

   On the evening of Friday, February 28, 2025, representatives of IAF received a

communication that President Trump had exercised a purported authority to appoint

Pete Marocco as the acting Chair of the Board of IAF. Ex. B, Feleke Decl., ¶17. The

communication represented that there were no other remaining members of the

Board of IAF. Id. But the remaining members of the Board of IAF still held (and still

hold) their positions. The communication acknowledged that President Trump had

no statutory authority under the Federal Vacancies Reform Act or the Inter-American

Foundation Act to appoint acting board members but asserted that President Trump

had an inherent authority to do so.

   That same evening, Marocco held an “emergency board meeting” outside the IAF

office because no one was there to let him in. Ex. B, Feleke Decl., ¶ 17. Nate



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Cavanaugh and Ethan Shaotran of DOGE attended, but Marocco was the only

purported Board member. He voted to close the Board meeting to the public. He then

voted to appoint himself as the acting President and CEO of IAF.

   Marocco, now representing himself to be the President of IAF, instructed the

Bureau of the Fiscal Service of the U.S. Department of the Treasury to terminate all

but a handful of IAF’s contracts.

   On Monday, March 3, 2025, Marocco and DOGE implemented a RIF of most or

all IAF’s employees. Ex. D, Feleke Decl., ¶ 18. Marocco and DOGE began the process

of cancelling almost all IAF grants and returning outside donations. They shut all

employees out of the IT systems. And they had the IAF website taken down. Id.

   DOGE’s Activities

    DOGE Defendants’ rapid and unlawful overreach against USADF is of a piece

with their actions at several other federal agencies over the past month.

   On January 20, 2025, hours after his inauguration, President Trump signed

Executive Order 14158, Establishing and Implementing the President’s “Department

of Government Efficiency,” reorganizing and renaming the United States Digital

Service as the United States DOGE Service, established in the Executive Office of the

President. The Executive Order established the role of U.S. DOGE Service

Administrator within the Executive Office of the President, reporting to the White

House Chief of Staff.

   The Executive Order further established a temporary organization within the

U.S. DOGE Service, “the U.S. DOGE Service Temporary Organization.” The U.S



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DOGE Service Temporary Organization is headed by the U.S. DOGE Service

Administrator and is tasked with advancing the “President’s 18-month DOGE

agenda.”   Executive Order 14158 does not—and could not—vest any statutory

authority in any of the DOGE Defendants.

   Congress has neither established, nor appropriated money for, any of the DOGE

Defendants. They appear to be operating at the direction of the President and at the

direction of Elon Musk, who, on information and belief, either is the Acting United

States DOGE Service Administrator, or is otherwise exercising substantial authority

within the U.S. DOGE Service and the U.S. DOGE Service Temporary Organization.

   DOGE has entered numerous federal agencies since Inauguration Day, repeating

their behavior at virtually every stop: swooping in with DOGE staff, demanding

access to sensitive information systems, and threatening or taking employment

action against employees who resist unlawful commands.

   DOGE also frequently attempts to re-work entire agencies to DOGE’s will. Since

Inauguration Day, DOGE personnel have sought, and in most instances, obtained,

unprecedented access to information systems across numerous federal agencies,

including: the United States Agency for International Development, the Department

of Treasury (including the Internal Revenue Service), the Department of Labor, the

Department of Health and Human Services, the Consumer Financial Protection

Bureau, the National Oceanic and Atmospheric Administration, the Office of

Personnel Management, the General Services Administration, the Social Security

Administration, and the Department of Education.



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    In many instances, DOGE access to agency systems is initially eased by the

presence of new political leadership who do not resist DOGE’s unlawful access

demands.

                                   ARGUMENT

    To obtain a temporary restraining order, “the moving party must show: (1) a

substantial likelihood of success on the merits; (2) that it would suffer irreparable

injury if the [temporary restraining order] were not granted; (3) that [such an order]

would not substantially injure other interested parties; and (4) that the public

interest would be furthered” by the order. Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citations omitted); see also Hall v.

Johnson, 599 F. Supp. 2d 1, 3 n.2 (D.D.C. 2009) (“[T]he same standard applies to both

temporary restraining orders and to preliminary injunctions.” (citation omitted)).

“When the movant seeks to enjoin the government, the final two TRO factors—

balancing the equities and the public interest—merge.” D.A.M. v. Barr, 474 F. Supp.

3d 45, 67 (D.D.C. 2020) (citing Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511

(D.C. Cir. 2016)).

    Courts in this Circuit continue to apply a “sliding scale” approach, wherein “a

strong showing on one factor could make up for a weaker showing on another.”

Changji Esquel Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022) (internal

quotation marks and citation omitted) (noting potential tension in case law but

reserving the question of “whether the sliding-scale approach remains valid”); Nat’l

R.R. Passenger Corp. (Amtrak) v. Sublease Int. Obtained Pursuant to an Assignment

and Assumption of Leasehold Int. Made as of Jan. 25, 2007, Case. No. 22-1043 (2024
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WL 34443596, at *1-2 (D.D.C. July 15, 2024)) (recognizing that district courts remain

bound by sliding-scale precedent).

   I. Plaintiff is likely to succeed on the merits.

       A. Brehm is, at most, an inferior officer and not subject to removal
          by any entity other than the Board of USADF.

    The Appointments Clause of the United States Constitution provides that:

       “[The President] shall nominate, and by and with the Advice and
       Consent of the Senate, shall appoint Ambassadors, other public
       Ministers and Consuls, Judges of the supreme Court, and all other
       Officers of the United States, whose Appointments are not herein
       otherwise provided for, and which shall be established by Law: but
       Congress may by Law vest the Appointment of such inferior Officers, as
       they think proper, in the President alone, in the Courts of Law, or in the
       Heads of Departments.”

U.S. Const., art. II, § 2, cl. 2.

    “Only the President, with the advice and consent of the Senate, can appoint

noninferior officers,” that is, “principal officers.” United States v. Arthrex, Inc., 594

U.S. 1, 12 (2021). In contrast, “the Appointments Clause permits Congress to

dispense with joint appointment, but only for inferior officers. Congress may vest the

appointment of such officers ‘in the President alone, in the Courts of Law, or in the

Heads of Departments.’” Id. at 12-13 (internal citation omitted).

    “Generally speaking, the term ‘inferior officer’ connotes a relationship with some

higher ranking officer or officers below the President: Whether one is an ‘inferior’

officer depends on whether he has a superior.” Edmond v. United States, 520 U.S.

651, 662 (1997). In other words, an officer of the United States is “inferior” if his “work

is directed and supervised at some level by” principal officers. Id. at 663. The D.C.

Circuit applies Edmond by looking to three factors: “(i) whether the officer is subject

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to supervision and oversight by a principal officer; (ii) whether the officer is subject

to removal by a principal officer; and (iii) whether the officer has final decisionmaking

authority.” Fleming v. U.S. Dep't of Agric., 987 F.3d 1093, 1103 (D.C. Cir. 2021); see

also Al Bahlul v. United States, 967 F.3d 858, 871 (D.C. Cir. 2020); Intercollegiate

Broad. Sys., Inc. v. Copyright Royalty Bd., 684 F.3d 1332, 1339 (D.C. Cir. 2012).

Removability at will is central to this analysis; if a principal officer may remove

another officer at will, the provides “a powerful tool for control,” suggesting that “an

officer who may be removed at will by another officer is the latter’s ‘alter ego’ for

constitutional purposes.” Fleming, 987 F.3d at 1103.

    The structure of the United States African Development Foundation’s organic

statute follows these constitutional principles to establish the Foundation’s Board as

its principal officer and the Foundation’s President as (at most) an inferior officer. By

statute, Congress has vested the management of USADF in a board of directors,

“composed of seven members appointed by the President, by and with the advice and

consent of the Senate.” 22 U.S.C. § 290h-5(a)(1). “The management of the Foundation”

is “vested” in the Board. Id. The Board is accordingly the principal officer of USADF

for constitutional purposes.

    In contrast, the President of the Foundation exercises powers only “on such terms

as the Board may determine.” 22 U.S.C.A. § 290h-5(d)(1). Pursuant to this authority,

the Board has delegated to the President the “responsibility for directing the day to

day activities of the Foundation.” 22 C.F.R. § 1501.3.




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    Each of the three Edmond factors here leave no doubt that the President of

USADF is at most an inferior officer. At all times, he is “subject to supervision and

oversight” by the principal officer of the organization, the Board. Fleming, 987 F.3d

at 1103. He is appointed by the Board to his position as the President of the

Foundation, and no provision of USADF’s organic statute or any other provision of

law limits the Board’s authority to remove him from that position. The Board thus

retains the authority to replace the President of the Foundation at will, as “removal

is incident to the power of appointment.” Free Enter. Fund v. Pub. Co. Acct. Oversight

Bd., 561 U.S. 477, 508–09 (2010). And he enjoys decisionmaking authority on behalf

of the Foundation only to the extent that he is “permitted to do so by other Executive

officers,” i.e., the Board. Arthrex, Inc., 594 U.S. at 14.

    Because the President of the Foundation is at most an inferior officer, Brehm may

be removed from his position only by his principal officer, the Board, and not by the

President or by any other person. Where, as here, Congress vests the appointment of

an inferior officer in the head of a department, “it is ordinarily the department head,

rather than the President, who enjoys the power of removal.” Free Enter. Fund, 561

U.S. at 493; see also id. at 508-09 (remedying Appointments Clause violation by

leaving an inferior officer removable by a principal officer at will not by the

President). Congress may depart from this ordinary rule, but, “[a]bsent relevant

legislation,” “the power to remove is held by the appointing authority, and only by the

appointing authority.” Nat'l Treasury Emps. Union v. Reagan, 663 F.2d 239, 247

(D.C. Cir. 1981) (emphasis added). “Thus, for example, an appointment authorized to



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be made by the Secretary of Defense and, in fact, made by the Secretary of Defense,

cannot be revoked by the President.” Id. See also In re Hennen, 38 U.S. 230, 260 (1839)

(where Congress has vested appointment power in the head of a department, that

officer holds the power of removal, and ”the President has certainly no power to

remove”); The Constitutional Separation of Powers Between the President and

Congress, 20 Op. O.L.C. 124, 166 (1996) (citing Hennen for the proposition that

“inferior officers appointed by a department head were not removable by the

President (absent statutory authorization to do so) but by the secretary who

appointed them” … “The Court's conclusions in Hennen ... remain good law”).

   Accordingly, the threatened termination of Brehm from his position as the

President of the United States African Development Foundation was ultra vires, and

Brehm lawfully retains that position.

      B. Marocco does not lawfully hold a position as a Board Member or
         Officer of the United States African Development Foundation.

   As discussed above, the Appointments Clause forecloses a Presidential power to

unilaterally appoint principal officers of the United States. The Framers believed that

such an unchecked power was “the most insidious and powerful weapon of eighteenth

century despotism.” Freytag v. Comm'r, 501 U.S. 868, 883 (1991). The Appointments

Clause accordingly limits Constitution that power by “dividing” it “between the

Executive and Legislative Branches.” Id. at 884.

   “The Senate's advice and consent power is a critical ‘structural safeguard [ ] of

the constitutional scheme.’” NLRB v. SW Gen., Inc., 580 U.S. 288, 293–94 (2017)

(quoting Edmond, 520 U.S. at 659; internal alterations in the original). Congress


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recognized, however that the process of nomination and Senate confirmation “can

take time,” and that in some instances neither the President nor the Senate “may

desire to see the duties of the vacant office go unperformed in the interim.” Id. at 293-

94. Accordingly, “Congress has given the President limited authority to appoint acting

officials to temporarily perform the functions of a vacant [principal] office without

first obtaining Senate approval.” Id. at 294 (emphasis added). Even this grant of

limited authority is a departure from the constitutional “norm.” NLRB v. Noel

Canning, 573 U.S. 513, 523 (2014); see United States v. Maurice, 26 F. Cas. 1211,

1213 (No. 15,747) (C.C.D. Va. 1823) (Marshall, C.J., sitting as circuit judge) (“the

president shall nominate, and by and with the consent of the senate, appoint to all

offices of the United States, with such exceptions only as are made in the

constitution”) (emphasis added).

    The Federal Vacancies Reform Act (FVRA) describes certain circumstances under

which Congress has delegated to the President this limited authority to appoint

acting officials. See 5 U.S.C. §§ 3345-3346; SW. Gen., 580 U.S. at 296. These

provisions “are the exclusive means for temporarily authorizing an acting official to

perform the functions and duties of any office of an Executive agency . . . for which

appointment is required to be made by the President, by and with the advice and

consent of the Senate,” unless another “statutory provision expressly” authorizes the

President or another official to appoint an acting official or such a provision itself

expressly designates an acting official, or the President validly makes a recess

appointment. 5 U.S.C. § 3347(a).



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    The FVRA does not extend to the President this limited grant of appointment

authority to vacancies arising in boards “composed of multiple members” and boards

that control a “Government corporation.” 5 U.S.C. § 3349c(1). The United States

African Development Foundation is governed by a nonpartisan seven-member board,

and it operates as a government corporation. 22 U.S.C. §§ 290h-4(b), 290h-5(a)(1).

Accordingly, the FVRA does not grant the President the authority to appoint acting

members of the Board of the United States African Development Foundation. And,

although the FVRA acknowledges that other statutes might provide such an

appointment authority, no provision in the United States African Development

Foundation’s organic statute (or any other source of law) grants the President the

power to appoint acting board members. Instead, the statute specifies that Board

members may only be appointed pursuant to the process of nomination and

confirmation by the Senate. 22 U.S.C. § 290h-5(a)(1).

    Because neither the FVRA nor any other provision of law contemplates the

possibility of acting Board members, any vacancy in the Board of the United States

African Development Foundation “shall remain vacant,” 5 U.S.C. § 3348(b)(1), until

such time as the position is filled through the process of Senate confirmation. And

any action taken by a person who purports to be an acting member of the Foundation’s

Board “in the performance of any function or duty of a vacant office to which this

section and sections 3346, 3347, 3349, 3349a, 3349b, and 3349c apply shall have no

force or effect.” 5 U.S.C. § 3348(d)(1). Moreover, any such action “may not be ratified.”

5 U.S.C. § 3348(d)(2).



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    The purported appointment of Marocco as chairman of the Board of the United

States African Development Foundation is therefore void and must be treated as

having no force or effect. It is our understanding that the Defendants resist this

conclusion on the ground that, where (as here) no statute grants the President the

authority to appoint acting officials, he must have an inherent extra-statutory

authority to do so. There is no basis in the Constitution for the President to arrogate

such a power to himself. The President has a means available to him to appoint

officials to the Board; he may nominate persons for that role and obtain Senate

confirmation for those nominations. See 22 U.S.C. § 290f(g). He has not even

attempted to exercise that prerogative. And Congress has “addressed the problem of

vacancies on various multimember agencies [including the United States African

Development Foundation], providing that members may continue to serve for some

period past the expiration of their commissions until successors are nominated and

confirmed.” Noel Canning v. NLRB, 705 F.3d 490, 511 (D.C. Cir. 2013), aff'd, 573

U.S. 513 (2014). But even though “Congress has chosen not to provide for acting

[Board] members[,] that choice cannot support” the Defendants’ theory. Id. “We

cannot accept an interpretation of the Constitution completely divorced from its

original meaning in order to resolve exigencies created by—and equally remediable

by—the executive and legislative branches.” Id.

    The Defendants’ theory was decisively rejected in Williams v. Phillips, 360 F.

Supp. 1363, 1364 (D.D.C. 1973). In that case, President Nixon had sought to appoint

an acting director of the Office of Economic Opportunity, a statutorily created agency,



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so that the acting director could proceed to dismantle that office. The governing

statute required Presidential nomination and Senate confirmation for the director of

the office and made no provision for the appointment of an acting director. President

Nixon asserted an inherent Article II authority to disregard that limitation and to

appoint an acting director. The district court rejected this assertion, holding that “in

the absence of such legislation or legislation vesting a temporary power of

appointment in the President, the constitutional process of nomination and

confirmation must be followed.” Id. at 1371. The D.C. Circuit denied the

Administration’s request for a stay, similarly reasoning that “[Article] II, § 2 of the

Constitution unequivocally requires an officer of the United States to be confirmed

by the Senate unless different provision is made by congressional statute.” Williams

v. Phillips, 482 F.2d 669, 670 (D.C. Cir. 1973). The court acknowledged that the

merits panel might allow for a different result in cases involving appointments of

acting officials for short periods during genuine emergencies but reasoned that no

such emergency was present in the case before it. Id. at 670 & n.1. (The appeal did

not reach a decision on the merits, so the stay panel’s opinion was the D.C. Circuit’s

final word in the case.) At all events, however, if any such limited emergency power

could exist despite the absolute language of the Appointments Clause, it could not

extend to a purported emergency created by the actions of the Defendants

themselves. See Olympic Fed. Sav. & Loan Ass’n v. Dir., Off. of Thrift Supervision,

732 F. Supp. 1183, 1199–200 (D.D.C.), appeal dismissed and remanded, 903 F.2d 837

(D.C. Cir. 1990).



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    As noted above, Congress has underscored the reasoning of these cases by

specifying that the FVRA provides the “exclusive means” for the appointment of

acting officials in the absence of Senate confirmation. 5 U.S.C. § 3347(a). In the

absence of a grant of authority from Congress to appoint an acting member of the

Board of USADF, the President lacked the authority to appoint Marocco to that

Board. And because Marocco has not been validly appointed as an acting member of

the Board, any actions he has taken or intends to take in that capacity, or as Brehm’s

replacement as President of the United States African Development Foundation must

be treated as void and as without effect. “The plain terms of the FVRA remove

remedial discretion by directing that unlawful actions under that statute are void ab

initio, thereby rendering the rules without ‘force or effect’ and requiring vacatur.”

Asylumworks v. Mayorkas, 590 F. Supp. 3d 11, 26 (D.D.C. 2022). Plaintiff Brehm is

therefore entitled to relief precluding Marocco from exercising authority on behalf of

the United States African Development Foundation.

    II. Plaintiff will suffer irreparable harm unless the government’s
        action is enjoined.

    “An irreparable harm is an imminent injury that is both great and certain to

occur, and for which legal remedies are inadequate.” Beattie v. Barnhart, 663 F.

Supp. 2d 5, 9 (D.D.C. 2009). When analyzing irreparable harm, the Court assumes

that the plaintiff has shown a likelihood of success on the merits. See Chaplaincy of

Full Gospel Churches v. England, 454 F.3d 290, 303 (D.C. Cir. 2006).

    Brehm suffers irreparable harm from the actions of the Defendants because they

threaten to deprive him of his “statutory right to function” in the role that the Board


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of USADF has lawfully appointed him to perform. Harris v. Bessent, No. CV 25-412

(RC), --- F. Supp. 3d ---, 2025 WL 679303, at *13 (D.D.C. Mar. 4, 2025). Any remedies

at law would be inadequate to redress this injury; Brehm does not complain here of

any potential loss of pay if he were to be terminated from his position, but the lost

opportunity to administer USADF in accordance with its statutory mandates, as

those mandates are understood by Brehm and the Board. See id.

    What’s more, Brehm’s harm is irreparable because Defendants have made clear

that they intend to effectively shutter the agency. From the very outset of their

dealings with USADF, U.S. DOGE Service representatives have made their plans for

the Foundation perfectly clear: if they gain access to the Foundation, they will

proceed to cancel all but one or two of the Foundation’s contracts and grants, and they

will terminate all of the Foundation’s employees, in blatant contravention of

USADF’s statutory duty to use its appropriated funds to foster partnerships in Africa,

as well as Congress’s specific prohibitions against reprogramming the Foundation’s

funds without Congressional consultation. Put simply, if Brehm ultimately wins on

the merits without emergency injunctive relief in the interim, his victory will be a

hollow one, because there will be no agency left for him to manage.

    The Court does not have to hypothesize about these harms—they are precisely

what Defendants have done to USADF’s sister agency, the Inter-American

Foundation. On Friday, February 28, Trent Morse announced that Pete Marocco was

the new board member of IAF, in the same email that was sent regarding USADF.

Again, the email stated that, despite the FVRA’s plain prohibition, the President’s



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Article II powers allowed the President to fill a vacancy (that the President created)

instead of seeking Senate advice and consent. That afternoon, in an “emergency

Board meeting”—which was Marocco, by himself, in the IAF lobby—Marocco

appointed himself acting President and CEO of IAF. (There were no dissenting votes.)

Within hours, Marocco directed Treasury to cancel all but a handful of IAF’s

contracts. The following Monday, Marocco and the DOGE team went to the IAF

offices and laid off almost the entire staff, cancelled all but a few grants, shut down

the IT system, and shut down the IAF website. In short, Congress created IAF over

50 years ago and has carefully funded it every year since. It took Marocco and DOGE

less than 72 hours to reduce IAF to rubble. Every indication is that they plan to do

the same to USADF.

    III. The balance of equities and public interest favor Plaintiff.

    “It is well established that the Government cannot suffer harm from an injunction

that merely ends an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218

(D.D.C. 2020) (internal quotation marks and citations omitted). Likewise, “[t]here is

generally no public interest in the perpetuation of unlawful agency action.” Open

Cmty. All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017). “To the contrary, there

is a substantial public interest in having governmental agencies abide by the federal

laws . . . that govern their existence and operations.” Id. (internal quotation marks

and citations omitted). That substantial public interest is particularly acute here. If

Defendants could disregard the restrictions on inferior officer removal, and the

prohibition on the appointment of acting board officials that Congress put into place,



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the Appointments Clause would be rendered to be a practical nullity. See Harris, 2025

WL 521027, at *8.

      Congress determined that USADF be run by a bipartisan, Senate-confirmed

Board and a President who takes the Board’s direction and answers directly to it. See

22 U.S.C. §§ 290h-5(a)(1), (d)(1). The actions of the Defendants demonstrate a

disregard for the structure that Congress has put in place, and the public interest

weighs heavily in favor of enforcing the Congressional design. Thus, for the same

reasons that Plaintiffs are likely to succeed on the merits, equity requires immediate

relief.

    And there is nothing on Defendants’ side of the scale: Congress created USADF

“[i]n order to enable the people of African countries to develop their potential, fulfill

their aspirations, and enjoy better, more productive lives.” 22 U.S.C. § 290h-2(a). As

Brehm has explained in his recent report to the Office of Management and Budget,

USADF “advances US foreign policy objectives by promoting economic stability,

reducing poverty, and mitigating conditions that fuel extremism and migration.” Ex.

D, Feleke Decl., ¶ 1. The Foundation “efficiently channels funds to underserved

communities while maintaining fiscal discipline.” Id. “The agency’s mission is directly

linked to promoting free enterprise and economic self-sufficiency, which aligns with

the Administration's goal of reducing dependency on government aid while fostering

economic partnerships that benefit American businesses.” Id. It is not in the public

interest for Defendants to ignore the Congressional purposes that USADF fulfills

simply because they wish to erase an agency from existence. And Defendants will in



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no way be harmed if a 44-year-old agency, with a 45-million-dollar appropriation over

two years, continues to exist and function while the Court decides the merits of this

case.

                                  CONCLUSION

    For these reasons, the Court should grant the motion and enter an administrative

stay and TRO until the Court can further consider the merits.


 March 6, 2025                             Respectfully submitted,

                                           _/s/Bradley Girard_________________
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